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                  EXHIBIT A
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DATE               PERSON             DESCRIPTION                                                                                                                    HOURS     RATE         TOTAL

     9/8/2020 Katherine Cheng         Analyze Ray production for deficiencies and discuss with Y. Barkai in connection with preparation for civil contempt hearing       2.6   $   275.00   $       715.00
SUBTOTAL                                                                                                                                                                 2.6   $   275.00   $       715.00
    7/22/2020 Yotam Barkai            Draft and circulate R. Ray deposition notice                                                                                       0.5   $   275.00   $       137.50
    7/29/2020 Yotam Barkai            Prepare for R. Ray deposition; correspondence regarding R. Ray deposition                                                            2   $   275.00   $       550.00
                                      Correspondence regarding motion to compel Ray deposition and related issues; revise and circulate motion to compel Ray
        8/3/2020 Yotam Barkai                                                                                                                                            0.5 $     275.00   $       137.50
                                      deposition
        8/4/2020   Yotam Barkai       Correspondence regarding R. Ray deposition and related issues; revise supplemental brief in support of R. Ray deposition             1   $   275.00   $       275.00
        8/4/2020   Yotam Barkai       Finalize supplemental brief in support of motion to compel against R. Ray                                                          0.5   $   275.00   $       137.50
        8/5/2020   Yotam Barkai       Correspondence regarding R. Ray motion                                                                                             0.2   $   275.00   $        55.00
       8/17/2020   Yotam Barkai       Correspondence regarding R. Ray deposition and hearing; attention to R. Ray deposition and show cause hearing                      0.5   $   275.00   $       137.50
       8/18/2020   Yotam Barkai       Correspondence regarding R. Ray show cause hearing                                                                                 0.2   $   275.00   $        55.00
       8/19/2020   Yotam Barkai       Correspondence regarding R. Ray show cause hearing                                                                                 0.2   $   275.00   $        55.00
       8/20/2020   Yotam Barkai       Correspondence regarding R. Ray deposition and show cause hearing                                                                  0.1   $   275.00   $        27.50
       8/24/2020   Yotam Barkai       Correspondence regarding R. Ray hearing                                                                                            0.2   $   275.00   $        55.00
       8/25/2020   Yotam Barkai       Correspondence regarding R. Ray deposition                                                                                         0.2   $   275.00   $        55.00
       8/26/2020   Yotam Barkai       Correspondence regarding R. Ray hearing; researched sanctions issues for R. Ray hearing                                              1   $   275.00   $       275.00
       8/27/2020   Yotam Barkai       Correspondence regarding R. Ray show-cause hearing; attention to R. Ray deposition and show-cause hearing                          0.5   $   275.00   $       137.50
                                      Correspondence regarding R. Ray deposition; finalized and served R. Ray deposition notice; reviewed and revised R. Ray
       8/31/2020 Yotam Barkai                                                                                                                                            1.5 $     275.00   $       412.50
                                      timeline
                                      Correspondence and communications regarding R. Ray show cause/sanctions hearing; revised and recirculated R. Ray
        9/1/2020 Yotam Barkai                                                                                                                                            2.5 $     275.00   $       687.50
                                      timeline
                                      Correspondence regarding R. Ray timeline, R. Ray show cause/sanctions hearing, case status, and other issues; prepared for
        9/3/2020 Yotam Barkai                                                                                                                                            2.2 $     275.00   $       605.00
                                      R. Ray hearing; reviewed argument outline
        9/4/2020   Yotam Barkai       Correspondence regarding R. Ray hearing and deposition                                                                             0.3   $   275.00   $        82.50
        9/5/2020   Yotam Barkai       Prepared for R. Ray hearing; drafted outline for R. Ray hearing; correspondence regarding R. Ray                                     3   $   275.00   $       825.00
        9/6/2020   Yotam Barkai       Correspondence regarding R. Ray hearing; attention to R. Ray hearing issues                                                        0.2   $   275.00   $        55.00
        9/8/2020   Yotam Barkai       Correspondence regarding R. Ray hearing; prepared for R. Ray hearing and deposition                                                0.5   $   275.00   $       137.50
                                      Correspondence regarding R. Ray hearing; prepared for R. Ray hearing and deposition; prepared, finalized, and filed
        9/9/2020 Yotam Barkai                                                                                                                                            0.8 $     275.00   $       220.00
                                      submission to Court regarding R. Ray hearing
       9/10/2020   Yotam Barkai       Correspondence regarding case status and R. Ray hearing; prepared for R. Ray deposition and hearing                                0.4   $   275.00   $       110.00
       9/11/2020   Yotam Barkai       Correspondence regarding preparation for R. Ray deposition/hearing; prepared for R. Ray deposition/hearing                         1.4   $   275.00   $       385.00
       9/12/2020   Yotam Barkai       Prepared for R. Ray deposition                                                                                                     0.5   $   275.00   $       137.50
       9/13/2020   Yotam Barkai       Prepared for R. Ray deposition                                                                                                     2.1   $   275.00   $       577.50
                                      Correspondence regarding R. Ray deposition and hearing; prepared for and participated in R. Ray deposition; prepared for
       9/14/2020 Yotam Barkai                                                                                                                                            2.7 $     275.00   $       742.50
                                      and participated in Court hearing
SUBTOTAL                                                                                                                                                                25.7   $   275.00   $   7,067.50
     8/4/2020      Jessica Phillips   Reviewed and edited draft motion to compel R. Ray                                                                                  0.5   $   450.00   $     225.00
    8/24/2020      Jessica Phillips   Attention to prep for R. Ray show-cause hearing                                                                                    1.2   $   450.00   $     540.00
    8/26/2020      Jessica Phillips   Attention to R. Ray show-cause hearing                                                                                             0.7   $   450.00   $     315.00
    8/27/2020      Jessica Phillips   Attention to R. Ray show-cause hearing                                                                                               1   $   450.00   $     450.00
    8/31/2020      Jessica Phillips   Prepared for R. Ray contempt hearing                                                                                               3.1   $   450.00   $   1,395.00
     9/1/2020      Jessica Phillips   Reviewed and edited timeline for R. Ray contempt hearing                                                                             1   $   450.00   $     450.00
     9/8/2020      Jessica Phillips   Prepared for civil contempt hearing for R. Ray                                                                                     3.1   $   450.00   $   1,395.00
     9/9/2020      Jessica Phillips   Prepared for R. Ray civil contempt hearing                                                                                           3   $   450.00   $   1,350.00
    9/11/2020      Jessica Phillips   Prepared for R. Ray civil contempt hearing                                                                                         2.5   $   450.00   $   1,125.00
    9/13/2020      Jessica Phillips   Drafted cross examination for R. Ray civil contempt hearing                                                                        2.5   $   450.00   $   1,125.00
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    9/14/2020   Jessica Phillips   Prepared for R. Ray civil contempt hearing                                                                              3.5   $    450.00   $    1,575.00
    9/14/2020   Jessica Phillips   Attended R. Ray civil contempt hearing                                                                                  1.2   $    450.00   $      540.00
    9/14/2020   Jessica Phillips   Teleconference with Y. Barkai re: R. Ray exhibits                                                                       0.1   $    450.00   $       45.00
    9/14/2020   Jessica Phillips   Teleconference with M. Block re: R. Ray civil contempt hearing                                                          0.2   $    450.00   $       90.00
SUBTOTAL                                                                                                                                                  23.6   $    450.00   $   10,620.00
    7/24/2020   Stephanie Spear    Per Y. Barkai request, scheduled upcoming Ray deposition with TSG                                                       0.5   $    100.00   $       50.00
    8/26/2020   Stephanie Spear    Per K. Cheng request, compiled a timeline of R. Ray's participation in this litigation for use in future motions          3   $    100.00   $      300.00
    8/27/2020   Stephanie Spear    Per K. Cheng request, compiled a timeline of R. Ray's participation in this litigation for use in future motions          3   $    100.00   $      300.00
    8/28/2020   Stephanie Spear    Per K. Cheng request, compiled a timeline of R. Ray's participation in this litigation for use in future motions          2   $    100.00   $      200.00
     9/1/2020   Stephanie Spear    Per K. Cheng request, worked with B. Zhang to compile a timeline of court correspondence with R. Ray                      1   $    100.00   $      100.00
     9/8/2020   Stephanie Spear    Per K. Cheng request, sent previous versions of R. Ray outline for attorney review in advance of upcoming deposition    0.5   $    100.00   $       50.00
     9/9/2020   Stephanie Spear    Per K. Cheng request, scheduled and prepared for upcoming deposition for R. Ray                                           1   $    100.00   $      100.00
    9/11/2020   Stephanie Spear    Per K. Cheng request, pulled prior hearing transcripts for attorney review                                              0.5   $    100.00   $       50.00
    9/14/2020   Stephanie Spear    Per K. Cheng request, searched for and sent relevant materials for today's hearing to J. Phillips for review              1   $    100.00   $      100.00
SUBTOTAL                                                                                                                                                  12.5   $    100.00   $    1,250.00
     9/1/2020   Brittany Zhang     R. Ray email timeline per Y. Barkai and J. Phillips                                                                     3.1       $100.00   $      310.00
     9/3/2020   Brittany Zhang     R. Ray timeline binder for J. Phillips                                                                                  1.6       $100.00   $      160.00
     9/4/2020   Brittany Zhang     R. Ray timeline binder for J. Phillips                                                                                  0.5       $100.00   $       50.00
SUBTOTAL                                                                                                                                                   5.2   $    100.00   $      520.00
    7/29/2020   TSG Reporting      Court reporting and transcript services for R. Ray deposition                                                                 $    646.50   $      646.50
    7/29/2020   TSG Reporting      Videography services for R. Ray deposition                                                                                    $    295.00   $      295.00
    9/14/2020   TSG Reporting      Court reporting and transcript services for R. Ray deposition                                                                 $    641.75   $      641.75
    9/14/2020   TSG Reporting      Videography services for R. Ray deposition                                                                                    $    442.50   $      442.50
SUBTOTAL                                                                                                                                                    0                  $    2,025.75

TOTAL                                                                                                                                                     69.6                 $   22,198.25
